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 Fill in this information to identify your case:
 Debtor 1               Christine Favara Anderson
                              First Name            Middle Name             Last Name
 Debtor 2
 (Spouse, if filing) First Name       Middle Name           Last Name
 United States Bankruptcy Court for the:          WESTERN DISTRICT OF VIRGINIA                                         Check if this is an amended plan, and
                                                                                                                       list below the sections of the plan that
 Case number:                                                                                                          have been changed.

 (If known)


Official Form 113
Chapter 13 Plan                                                                                                                                              12/17


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do
                           not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an
                           attorney, you may wish to consult one.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court.
                           The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
                           3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                           includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
                           ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in a            Included                    Not Included
              partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included


 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

$482.00 per Month for 36 months

Insert additional lines if needed.

              If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments
              to creditors specified in this plan.

2.2           Regular payments to the trustee will be made from future income in the following manner.

              Check all that apply:
                       Debtor(s) will make payments pursuant to a payroll deduction order.
                       Debtor(s) will make payments directly to the trustee.
                       Other (specify method of payment): ViaTFS

2.3 Income tax refunds.
    Check one.
                  Debtor(s) will retain any income tax refunds received during the plan term.


APPENDIX D                                                                      Chapter 13 Plan                                                 Page 1
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                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
                          and will turn over to the trustee all income tax refunds received during the plan term.

                          Debtor(s) will treat income refunds as follows:



2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5          The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $17,352.00.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

             Check one.
                     None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below were either:

                          (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired
                              for the personal use of the debtor(s), or

                          (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the
                          trustee or directly by the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of
                          claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the
                          absence of a contrary timely filed proof of claim, the amounts stated below are controlling. The final column includes only
                          payments disbursed by the trustee rather than by the debtor(s).

 Name of Creditor                    Collateral                         Amount of claim          Interest rate      Monthly plan Estimated total payments
                                                                                                                    payment       by trustee
 Aaron's Sales &                                                                                                       $33.57 x 3
 Lease Ownership                     Refrigerator                       $100.00                         4.25%             months                  $100.71
                                                                                                                    Disbursed by:
                                                                                                                       Trustee
                                                                                                                       Debtor(s)


                                                                                                                       $35.38 x33
                                                                                                                     months plus
                                                                                                                           $15 x 3
 Aaron's Sales &                                                                                                      months for
 Lease Ownership                     Dryer, Washer                      $1,100.00                       4.25%       AP payments                          $1,212.54
                                                                                                                    Disbursed by:
                                                                                                                       Trustee
                                                                                                                       Debtor(s)




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 Name of Creditor                    Collateral                         Amount of claim          Interest rate      Monthly plan Estimated total payments
                                                                                                                    payment        by trustee
                                                                                                                     $112.57 x 33
                                                                                                                     months plus
                                                                                                                           $55 x 3
 Hillside Motors,                                                                                                     months for
 Inc.                                2008 Dodge Nitro                   $3,500.00                       4.25%       AP payments                 $3,879.81
                                                                                                                    Disbursed by:
                                                                                                                       Trustee
                                                                                                                       Debtor(s)

                                                                                                                     $112.57 x 33
                                                                                                                     months plus
                                                                                                                           $55 x 3
 Hillside Motors,                    2010 Dodge Charger                                                               months for
 Inc.                                Not Running                        $3,500.00                       4.25%       AP payments                         $3,879.81
                                                                                                                    Disbursed by:
                                                                                                                       Trustee
                                                                                                                       Debtor(s)
                                     PPT
 Madison County                      2008 Dodge Nitro                                                                   $21.58 12
 Treasurer                           2010 Dodge Charger                 $245.50                       10.00%              months                              $258.96
                                                                                                                    Disbursed by:
                                                                                                                       Trustee
                                                                                                                       Debtor(s)

Insert additional claims as needed 3.4 Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General
             Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
             without postpetition interest.

4.2          Trustee’s fees
             Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 10.00% of plan payments; and
             during the plan term, they are estimated to total $1,735.20.

4.3          Attorney's fees.

             The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,000.00. See Part 8.1A

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
                     The debtor(s) estimate the total amount of other priority claims to be $3.00 [IRS $1; VDT $1; Madison County Treasurer
                     $1]

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



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 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option
             providing the largest payment will be effective. Check all that apply.

                The sum of $     .
                  3.00 % of the total amount of these claims, an estimated payment of $ 2,282.50 .
                The funds remaining after disbursements have been made to all other creditors provided for in this plan.



                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $ 0.00          .
                Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
                          The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed
                          below on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or
                          directly by the debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specified below and
                          disbursed by the trustee. The final column includes only payments disbursed by the trustee rather than by the debtor(s).

 Name of Creditor                                        Current installment payment        Amount of arrearage to be      Estimated total payments by
                                                                                            paid                           trustee
                                                          Debtor will continue paying
 US Clerk of Court – Criminal                                      $100.00/monthly per
 Restitution                                                                agreement                            $0.00                 $0.00 by Trustee
                                                         Disbursed by:
                                                            Trustee
                                                            Debtor(s)

Insert additional claims as needed.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts
             and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1        Property of the estate will vest in the debtor(s) upon
      Check the applicable box:
            plan confirmation.
            entry of discharge.
            other:

 Part 8:      Nonstandard Plan Provisions

8.1     Check "None" or List Nonstandard Plan Provisions
                None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
A. Attorney’s Fees. Attorney’s Fees noted in Paragraph 4.3 shall be approved on the confirmation date unless previously
objected to. Said allowed fees shall be paid by the Trustee prior to the commencement of payments required to be made by the

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Trustee under Paragraphs 3.1, 3.4, 4.4, 5.1, 5.2, 5.3, and 6.1 herein, except that attorney’s fees shall be paid pro rata with any
distribution to domestic support order claimants under paragraph 4.5. Debtor(s)' attorney will be paid $3,995.00 balance due of
the total fee of $3,995.00 concurrently with or prior to the payments to remaining creditors. The $3,995.00 in Debtor(s)'
attorney's fees to be paid by the Chapter 13 Trustee are broken down as follows:
(i) $3,995.00: Fees to be approved, or already approved, by the Court at initial plan confirmation;
(ii) $ _________: Additional pre-confirmation or post-confirmation fees already approved by the Court by separate order or in a
previously confirmed modified plan [ECF #         :$     ; ECF #     :$       ];

(iii) $ ________: Additional post-confirmation fees being sought in this modified plan, which fees will be approved when this
plan is confirmed.
B. Deficiency Claims for Surrendered Property. Any unsecured proof of claim for a deficiency which results from the
surrender and liquidation of the collateral noted in paragraph 3.5 of this plan must be filed by the earlier of the following dates
or such claim will be forever barred: (1) within 180 days of the date of the first confirmation order confirming a plan which
provides for the surrender of said collateral, or (2) within the time period set for the filing of an unsecured deficiency claim as
established by any order granting relief from the automatic say with respect to said collateral. Said unsecured proof of claim
for a deficiency must include appropriate documentation establishing that the collateral surrendered has been liquidated, and
the proceeds applied, in accordance with applicable state law.

C. Treatment of Claims. All creditors must timely file a proof of claim to receive payment from the Trustee. If a claim is
scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to confirmation of
the plan, the creditor may be treated as unsecured for purposes of distribution under the plan. This paragraph does not limit
the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the debtor(s) receive a
discharge. If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
creditor will be treated as unsecured for purposes of distribution under the plan. The Trustee may adjust the monthly
disbursement as needed to pay an allowed secured claim in full.


D. Executory Contracts in Part 6.1 - The Trustee will pay the pre-petition arrearages, if any, through payments made pro rata
with other priority claims or on a fixed monthly basis as indicated in 6.1 above.

E. Attn: Fed Loan Servicing, ECMC, Navient, Department of Education and any other parties holding Government guaranteed
student loans: The Debtor is not seeking nor does this Plan provide for any discharge, in whole or in part of her student loan
obligations. The Debtor shall be allowed to seek enrollment, or to maintain any pre-petition enrollment, in any applicable
income-driven repayment (“IDR”) plan with the U.S. Department of Education and/or other student loan servicers, guarantors,
etc. (Collectively referred to hereafter as “Ed”), including but not limited to the Public Service Loan Forgiveness program,
without disqualification due to her bankruptcy. Any direct payments made from the Debtor to Ed since the filing of her petition
shall be applied to any IDR plan in which the Debtor was enrolled pre-petition, including but not limited to the Public Service
Loan Forgiveness program. Ed shall not be required to allow enrollment in any IDR unless the Debtor otherwise qualifies for
such plan. During the pendency of any application by the Debtor to consolidate her student loans, to enroll in an IDR, direct
payment of her student loans under an IDR, or during the pendency of any default in payment of the student loans under an
IDR, it shall not be a violation of the stay or other State or Federal Laws for Ed to send the Debtor normal monthly statements
regarding payments due and other communications including, without limitation, notices of late payments or delinquency.
These communications may expressly include telephone calls and e-mails.




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 Part 9:      Signature(s):

9.1        Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below, otherwise the Debtor(s) signatures are optional. The attorney for Debtor(s), if
any, must sign below.
 X /s/ Christine Favara Anderson                                         X
       Christine Favara Anderson                                              Signature of Debtor 2
       Signature of Debtor 1

       Executed on            7/8/2020                                                 Executed on

 X     /s/ Jennifer M. Wagoner                                                  Date     7/8/2020
       Jennifer M. Wagoner VSB#47920
       Signature of Attorney for Debtor(s)

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions
included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

 a.    Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                                   $0.00

 b.    Modified secured claims (Part 3, Section 3.2 total)                                                                                           $0.00

 c.    Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                $9,331.30

 d.    Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                            $0.00

 e.    Fees and priority claims (Part 4 total)                                                                                                 $5,738.20

 f.    Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                               $2,282.50

 g.    Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                                 $0.00

 h.    Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                            $0.00

 i.    Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                      $0.00

 j.    Nonstandard payments (Part 8, total)                                                                    +                                     $0.00

 Total of lines a through j                                                                                                                   $17352.00




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